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A 0 245B (Rev 9/00) Sheet 1 -Judgment in a Criminal Case



                                UNITED STATES DISTRICT COURT
                                                           MIDDLE DISTRICT OF FLORIDA
                                                                TAMPA DIVISION



UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE

                                                                    CASE NUMBER: 8:03-cr-298-T-23TBM
                                                                    USM NUblBER: 41248-018
VS.



JOSEPH ANTHONY GONZALEZ
                                                                    Defendant's Attorney: Jose A. Barreiro (Pro Bono)

THE DEFENDANT:

 X pleaded guilty to count ONE of the Superseding Information.


TITLE & SECTION                          NATURE OF OFFENSE                                    OFFENSE ENDED             COUNT

18 U.S.C. 5 4                            Misprision of a Felony                               February 21, 2002         ONE


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Counts ONE through TWENTY-ONE are dismissed in accordance with the plea agreement.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                     Date of Imposition of Sentence: January 27, 2006




                                                                                        STEVEN D. MERRYDAY
                                                                                     UNITED STATES DISTRICT JUDG.E

                                                                                     DATE: January m2006
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A 0 235B (Rev. 9/00) Sheet 4 - Probation
- -



Defendant:            JOSEPH ANTHONY GONZALEZ                                                           Judgment - Page 2of 5
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                                                              PROBATION

The defendant is hereby placed on probation for a term of TWENTY-FOUR (24) h1OhTHS as to count one of the Superseding Information.

The defendant shall not commit another federal, state, or local crime, and shall not possess a firearm, ammunition, or destructive
dcvice as defhed in 18 U.S.C. 5 921.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from ally unlawful use of a controlled
substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court autliorizes random
drug testing not to exceed 104 lests per year.

X
-          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse.

X          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or a restitution, it is a condition of probation that the defendant pay in accordance with the Schedule
of Pay~nentssheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
1)         the defendant shall not leave the judicial district without the permission of the court or probation officer;

21         the defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
           complete written report within the first five days of each month;

31         the defendant shall answer trulhf'ully all inquiries by the probation officer and follow the instructioil of the probation officer;

4)         the defendant shall support his or her dependents and meet other family responsibilities;

5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons:

6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance, or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8>         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9>         the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;

10)        the defendant shall permit a probation officer to visit hbn or her at any time at home or elsewl~ereand shall pemlit confiscation
           of any contraband observed in plain view by the probation officer;

1 1)       the defendant shall notify the probation oflicer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;

12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court;

13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
           criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and
           to confirm the defendant's compliance with such notification requirement.
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A 0 245B (Rev 9/00) Sheet 4C - Probation

Defendant:           JOSEPH ANTHONY GONZALEZ                                             Judgment - Page 3 of 5--
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                                           SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of probation:

-
X         The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
          obligating himself for any major purchases without approval of the probation officer.

X
-         The defendant shall provide the probation officer access to any requested financial information.
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A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties
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Defendant:           JOSEPH ANTHONY GONZALEZ                                                          Judgment - Page 4 of 5
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                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                            -
                                                                      Fine                    Total Restitution

           Totals:              $100.00                               $ waived                $


-          The determination of restitution is deferred until            .   An Anzeizded Judgnleizt irz a Criiniizal Case (A0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including coinnlunity restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or .percentage pa ment column below. However, pursuant to 18 U.S .C. $
           3664(1), all non-federal victims must be pald before the dmted States.
                                                                                                              Priority Order or
                                                       *Total                   Amount of                     Percentage of
Name of Payee                                        Amount of Loss          Restitution Ordered              Pavment




                                Totals:              &-                      lL-

 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth   after the date of the judgment, pursuant to 18 U.S .C. 8 36 12(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -         the interest requirement is waived for the - fine           - restitution.
           -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994. but before April 23, 1B96.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payrnents

Defendant:            JOSEPH ANTHONY GONZALEZ                                                       Judgment - Page 5 of 5--
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                                                       SCHEDULE OF PAYbIENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.           X        Lump sum payment of $ 100.00 due immediately, balance due
                                  -not later than             , or
                                  -in accordance - C, - D, - E or - F below; or
                      Payment to begin iinnlediately (may be combined with -C, -D. or -F below): or
C.         -          Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $              over a
                      period of          (e.g ., months or years), to commence              days (e.g ., 30 or 60 days) after the
                      date of this judgment; or
D.         -          Payment in equal                 ( e . k , weekly, monthly, quarterly) installments of $             over a
                      period of              , (e.g., mont s or years) to commence                      (e.g. 30 or 60 days) after
                      release frorn imprisonment to a term of supervision; or
E.         -          Payment during the term of supervised release will commence within                         (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
F.         -          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of                                      of criminal
nonet tar penalties is due during im risonment. All criminal monetary penalties,                                      made through the
           5                                    f
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
        Defendant and Co-Defendant Names and Case Nu~nbers(including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
